Case 2:03-cr-20296-.]PI\/| Document 15 Filed 04/25/05 Page 1 of 2 Page|D 21

 

IN THE UNITED sTATss DISTRICT cOURT }’
FOR THE wEsTERN DISTRICT oF TENNESSEE _,
wssTERN DIVISION 533-"-'“-1‘".": 35 fn .
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W-D. OF Tw. wif-.-W'PF:'.FS

UNITED STATES OF AMERICA
Plaintiff,

V.

N?ZAQ [L!a./ic/ /v

Crimj.nal No. Q§_» QDQ ?6 Ml

(lBO-Day Continuance)

 

 

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Defendant{s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, October 28, 2005, at

10:30 a.m.

SO ORDERED this 22nd day of April, 2005.
§
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JON PHIPPS MCCALLA
TED STATES DISTRICT JUDGE
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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:03-CR-20296 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

